

Robles v Brooklyn Queens Nursing Home, Inc. (2025 NY Slip Op 02234)





Robles v Brooklyn Queens Nursing Home, Inc.


2025 NY Slip Op 02234


Decided on April 16, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 16, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
VALERIE BRATHWAITE NELSON
BARRY E. WARHIT
LAURENCE L. LOVE, JJ.


2024-01448
 (Index No. 889/13)

[*1]Pedro Robles, etc., appellant, 
vBrooklyn Queens Nursing Home, Inc., et al., defendants, Kingsbrook Jewish Medical Center, respondent.


Menkes Law Firm, New York, NY (Sheryl R. Menkes of counsel), for appellant.
Kaufman Borgeest &amp; Ryan, LLP, Garden City, NY (Jacqueline Mandell and Brennan P. Breeland of counsel), for respondent.



DECISION &amp; ORDER
In an action, inter alia, to recover damages for medical malpractice, the plaintiff appeals from an order of the Supreme Court, Kings County (Ellen M. Spodek, J.), dated January 16, 2024. The order, insofar as appealed from, in effect, denied the plaintiff's application to conduct post-note of issue discovery.
ORDERED that the appeal is dismissed, without costs or disbursements.
The plaintiff moved, inter alia, to vacate a note of issue and subsequently made an oral application to conduct post-note of issue discovery. In the order appealed from, the Supreme Court, among other things, denied that branch of the plaintiff's motion which was to vacate the note of issue and, in effect, denied the plaintiff's application to conduct post-note of issue discovery. The plaintiff appeals from so much of the order as, in effect, denied his application to conduct post-note of issue discovery.
No appeal lies as of right from a portion of an order that does not decide a motion made on notice (see  CPLR 5701[a]), and we decline to grant leave to appeal (see id.  § 5701[c]). Accordingly, we dismiss the appeal.
DILLON, J.P., BRATHWAITE NELSON, WARHIT and LOVE, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








